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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION
Roni Gonzalez,                        §
      Plaintiff,                      §
                                      §
v.                                    §            Civil Action No. 4:19-cv-00230
                                      §
Mayhill Behavioral Health, LLC        §
      Defendant.                      §

                                             ORDER

       This matter is before the Court on Defendant Mayhill Behavioral Health, LLC’s

(“Defendant” or “Mayhill”) Federal Rule of Civil Procedure 12(b)(1) Motion to Dismiss (“Motion to

Dismiss”) [Doc. 5].

       The Court, having considered the Motion to Dismiss, any Response by Plaintiff Roni

Gonzalez (“Plaintiff” or “Gonzalez”), any reply by Mayhill, as well as the argument of counsel, is of

the opinion that Mayhill’s Motion to Dismiss should be GRANTED. It is therefore

       ORDERED that Gonzalez shall arbitrate her claims against Mayhill in accordance with

arbitration requirement in the parties’ Alternative Resolution of Conflicts Agreement. It is further

       ORDERED that Gonzalez’s claims against Mayhill are hereby dismissed without prejudice.




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